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From: Major Ian D. Stevens XXX XX 2928/7566 USMC
To: Commanding Officer, Marine Aircraft Group 16

Subj: COMMAND INVESTIGATION INTO THE FACTS AND CIRCUMSTANCES
SURROUNDING THE CLASS “A” CH-53E AIRCRAFT MISHAP AND
DEATH OF SERGEANT ALEXIS FONTALVO XXX XX 2071!6153 USMC
ON 17 MARCH 2011

Ref: (B} JAGINST BSUO.TE, Part II

Encl: (1} CO, MAG-l€'s Appointment Ltr 5810 CO of 18 Mar 11
with Requested'and Approved Extensions
(2} IO‘s summary of mishap observances and post mishap
tests conducted
(3) Environmental data, collected 17 March 11
(4) HMH-361 Flight Schedule for 17 Mar 11
(5} Voluntary Statement from Captain Sarg taken by NCIS
dba 13 nar 11 `
(6} Voluntary Statement from Captain Sarg taken by IO dtd
25 Mar 11
(7) Voluntary Statement from First Lieutenant-Brown taken
by NCIS dtd 24 Mar 11
{8) Voluntary Statement from First Lieutenant taken by 10
' dtd 25 Mar 11
(9) Copy of Aircrew Training Jacket for Sergeant Fontalvo
(10) Excerpt copies of NATOPS qualifications and
designations for Sergeant Fontalvo `
{11) Flight Logbook copy for Sergeant Fontalvo
{12) HMH-361 Flight Hour Tracking Sheet
{13) Voluntary Statement from Sergeant Peshlakai taken by
10 dtd 8 Apr ll
(14) Voluntary Statement from Sergeant Silva taken by 10
dtd 31 Mar 11
{15) voluntary Statemant from Staff Sergeant Gerardo
Rangel taken by IO dtd 31 Mar 11
(16) Voluntary Statement from Corporal Shelton taken by
NCIS dtd 17 Mar 11
(1?) Voluntary Statement from Corporal Shelton taken by
IO dtd 25 Mar ll
(18) Voluntary Statement from Corporal Walker taken by
NCIS dtd 18 Mar 11
(19) IO's Diagram of mishap aircraft location and aircrew
positions

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SURROUNDI THE CLASS “A” CH-53E AIR AFT MISHAP AN'D
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ON 17 MARCH 2011

74. As a result of this mishap, Naval Air Systems Command
(NAVAIR) drafted a Technical Directive requiring a one-time
inspection of the suspect wiring harness. It further directs
replacement of the wiring and spiral wrapping if damage is
found. This proposed Technical Directive has not been signed at
the time of this report. [Encls {47), (48)]

75. Landing gear safety pins are only mentioned in one
maintenance publication. They are not mentioned in the NATOPS
publications. There is no reference to malfunction or immediate
actions when confronted with malfunction of the landing gear
system with relation to landing gear safety pins. [Encls (22},
(23), (24], (25)]

Opinions

 

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Recommendations
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SURROUNDIl ‘I‘HE CLASS "A" CH-53E AIR(. .F'I‘ MISHAP AND

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